  Case: 1:21-cv-02899 Document #: 170 Filed: 01/13/22 Page 1 of 5 PageID #:29366




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ABBVIE INC. and ABBVIE                           )   Civil Action No. 1:21-cv-02258
 BIOTECHNOLOGY LTD.,                              )   Civil Action No. 1:21-cv-02899
                                                  )
                                                      Honorable John Z. Lee
                                Plaintiffs,       )
                                                  )   Magistrate Judge M. David Weisman
        v.                                        )
                                                  )
 ALVOTECH HF.,                                    )
                                                  )
                                Defendant.        )



         DEFENDANT ALVOTECH HF.’S MOTION FOR LEAVE TO FILE UNDER
        SEAL EXHIBITS TO DECLARATION OF LOUIS E. FOGEL IN SUPPORT OF
        ALVOTECH HF.’S RESPONSE TO PLAINTIFFS’ NOTICE OF NARROWING
         OF CLAIM CONSTRUCTION ISSUES AND NOTICE OF SUPPLEMENTAL
                             TUTORIAL EXHIBITS

       Pursuant to Local Rules 5.8 and 26.2 and the Protective Order entered by the Court in this

case, Defendant Alvotech hf. moves for an Order permitting the filing under seal of Exhibits 1 and

2 filed with the Declaration of Louis E. Fogel in Support of Defendant Alvotech hf.’s Response to

Plaintiffs’ Notice of Narrowing of Claim Construction Issues and Notice of Supplemental Tutorial

Exhibits. In support of this Motion, Alvotech hf. states as follows:

       1.       On September 28, 2021, the Court entered the Parties’ Stipulated Protective Order

(“Protective Order”). (C.A. No. 1:21-cv-02258, Dkt. 66; 1:21-cv-02899, Dkt. 56.) According to

the terms of the Protective Order, any court filing that “contains, describes, or discusses” discovery

material a producing party designates as Confidential shall be filed under seal pursuant to Local

Rule 26.2, the Court’s CM/ECF procedures, and any other applicable rules or procedures.




                                                  1
  Case: 1:21-cv-02899 Document #: 170 Filed: 01/13/22 Page 2 of 5 PageID #:29367




        2.      Under the terms of the Protective Order, “Confidential” information is defined as

“information or things that constitute, contain, reveal, or reflect trade secrets or other confidential

research, development, business, or commercial information . . . including but not limited to . . .

scientific [] information; [and] product information . . . .” (Dkt. 66 at 2.)

        3.      Exhibit 1, ABV-ALV_21947580, is a presentation containing business and

technical information produced by Plaintiffs and designated as “CONFIDENTIAL” under the

Protective Order.

        4.      Exhibit 2, ABV-ALV_08289955, is presentation containing technical information

produced by Plaintiffs and designated as “CONFIDENTIAL” under the Protective Order.

        For the foregoing reasons, Alvotech hf. respectfully requests that the Court enter an order

permitting Alvotech to file under seal Exhibits 1 and 2 attached to the Declaration of Louis E.

Fogel in Support of Defendant Alvotech hf.’s Response to Plaintiffs’ Notice of Narrowing of

Claim Construction Issues and Notice of Supplemental Tutorial Exhibits.


  Date: January 13, 2022                            Respectfully Submitted,
                                                    ALVOTECH HF.
                                                    By: /s/ Louis E. Fogel
                                                         Louis E. Fogel (# 6281404)
                                                         JENNER & BLOCK LLP
                                                         353 N. Clark St.
                                                         Chicago, IL 60654
                                                         Tel: 312-222-9350 / Fax: 312-527-7764
                                                         Email: lfogel@jenner.com

                                                         Jonathan Singer
                                                         FISH & RICHARDSON P.C.
                                                         12860 El Camino Real, Ste. 400
                                                         San Diego, CA 92130
                                                         Tel: 858-678-5070 / Fax: 858-678-5099
                                                         Email: singer@fr.com

                                                         Martina Tyreus Hufnal
                                                         Douglas McCann


                                                   2
Case: 1:21-cv-02899 Document #: 170 Filed: 01/13/22 Page 3 of 5 PageID #:29368




                                           FISH & RICHARDSON P.C.
                                           222 Delaware Ave, 17th Fl.
                                           Wilmington, DE 19801
                                           Tel: 302-652-5070 / Fax: 302-652-0607
                                           Email: tyreushufnal@fr.com;
                                           dmccann@fr.com

                                           Esha Bandyopadhyay
                                           FISH & RICHARDSON P.C.
                                           500 Arguello Street Suite 400
                                           Redwood City, CA 94063
                                           Tel: 650-839-5088 / Fax: 650-839-5071
                                           Email: esha@fr.com

                                           Attorneys for ALVOTECH HF.




                                      3
  Case: 1:21-cv-02899 Document #: 170 Filed: 01/13/22 Page 4 of 5 PageID #:29369




                                CERTIFICATE OF SERVICE

       I do hereby certify that true and correct copies of Exhibits 1 and 2 to the Declaration of

Louis E. Fogel in Support of Alvotech hf.’s Response to Plaintiffs’ Notice of Narrowing of

Claim Construction Issues and Notice of Supplemental Tutorial Exhibits were served by

electronic mail to all counsel of record on January 13, 2022.

       Sean M. Berkowitz (ARDC No. 6209701)
       Brenda Danek (ARDC No. 6315056)
       sean.berkowitz@lw.com
       brenda.danek@lw.com
       LATHAM & WATKINS LLP
       330 North Wabash Avenue, Suite 2800
       Chicago, Illinois 60611
       Telephone: (312) 876-7700
       Facsimile: (312) 993-9767

       Michael A. Morin (ARDC No. 6229902)
       David P. Frazier (pro hac vice)
       Tara D. Elliott (pro hac vice)
       Ashley M. Fry (pro hac vice)
       michael.morin@lw.com
       david.frazier@lw.com
       tara.elliott@lw.com
       ashley.fry@lw.com
       LATHAM & WATKINS LLP
       555 Eleventh Street, N.W., Suite 1000
       Washington, D.C. 20004-1304
       Telephone: (202) 637-2200
       Facsimile: (202) 637-2201

       Arlene L. Chow (pro hac vice)
       Herman H. Yue (pro hac vice)
       arlene.chow@lw.com
       herman.yue@lw.com
       LATHAM & WATKINS LLP
       1271 Avenue of the Americas
       New York, NY 10020
       Telephone: (212) 906-1200
       Facsimile: (212) 751-4864

       Michael Seringhaus (pro hac vice)
       michael.seringhaus@lw.com
Case: 1:21-cv-02899 Document #: 170 Filed: 01/13/22 Page 5 of 5 PageID #:29370




    LATHAM & WATKINS LLP
    140 Scott Drive
    Menlo Park, CA 94025
    Telephone: (650) 328-4600
    Facsimile: (650) 463-2600

    Gabrielle LaHatte (pro hac vice)
    gabrielle.lahatte@lw.com
    LATHAM & WATKINS LLP
    505 Montgomery Street
    Suite 2000
    San Francisco, CA 94111
    Telephone: (415) 391-0600
    Facsimile: (415) 395-8095

    William B. Raich (pro hac vice)
    Charles T. Collins-Chase (pro hac vice)
    Kassandra M. Officer (pro hac vice)
    william.raich@finnegan.com
    charles.collins-chase@finnegan.com
    kassandra.officer@finnegan.com
    FINNEGAN, HENDERSON, FARABOW,
    GARRETT & DUNNER, LLP
    901 New York Ave., N.W.
    Washington, D.C. 20001
    Telephone: (202) 408-4000
    Facsimile: (202) 408-4400

    Oulu Wang (pro hac vice)
    lulu.wang@finnegan.com
    FINNEGAN, HENDERSON, FARABOW,
    GARRETT & DUNNER, LLP
    2 Seaport Lane
    Boston, MA 02210
    Telephone: (617) 646-1600
    Facsimile: (617) 646-1666

    Counsel for Plaintiffs AbbVie Inc.
    and AbbVie Biotechnology Ltd

                                                     /s/ Louis E. Fogel
                                                     Louis E. Fogel
